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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                    Date: March 4, 2022

   Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                Deborah Lewman                                  Not Present
                Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
               PLAINTIFF:                                  DEFENDANT:
              None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER DENYING MOTION FOR
                                    EXCULPATORY EVIDENCE [172]
                                    AND DENYING MOTION TO
                                    EXCEED PAGE LIMIT [177]

         Before the Court is Plaintiff Dr. John Eastman’s (“Dr. Eastman”) Motion for
   Exculpatory Evidence (“Brady Motion”) (Dkt. 172) and Motion to Exceed Page Limit
   (“Page Limit Motion”) (Dkt. 177). The Court finds the matter appropriate for resolution
   without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 7-15. Having reviewed the
   moving papers and considered the parties’ arguments, the Court DENIES Dr. Eastman’s
   Motions.

           Dr. Eastman contends that because the Select Committee has raised allegations of
   criminal activity against Dr. Eastman, President Trump, and others, Dr. Eastman is
   entitled to production of “all exculpatory information in the defendants’ possession or
   control.” Brady Mot. at 3. Among other things, Dr. Eastman seeks additional portions of
   deposition transcripts from interviews with the Select Committee, impeachment
   evidence, and evidence of dissent within federal agencies about election fraud. Id. at 4.
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                                UNITED STATES DISTRICT COURT
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          Dr. Eastman argues that the Select Committee’s brief alleging the crime fraud
   exception is “effectively a draft criminal indictment.” Brady Mot. at 3. Accordingly, Dr.
   Eastman contends that he merits the protections awarded to criminal defendants by
   Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150
   (1972). Id.

          The Court finds that the due process protections ensured by Brady and Giglio do
   not apply here. It is true that “Brady has been applied in the civil context when a
   substantial private interest is at stake.” Kashem v. Barr, 941 F.3d 358, 386–87 (9th Cir.
   2019) (collecting cases involving enemy combatants and civil commitment proceedings).
   In these rare cases, courts have typically required that “a person’s liberty” be at stake. Id.

           Here, Dr. Eastman’s liberty is not at issue—only his emails. The legislature raises
   allegations of crime in the limited context of privilege; but it is the executive branch that
   is solely responsible for deciding whether to prosecute. For Dr. Eastman to risk
   incarceration, there would have to be entirely separate criminal proceedings, where the
   Government would face a substantially higher burden of proof and Dr. Eastman would
   receive the full protections of criminal law.

           Dr. Eastman is the architect of his own pleadings and may present any evidence in
   his possession to defend his privilege claims. The reply brief and the hearing provide
   sufficient opportunities for Dr. Eastman to clarify the Select Committee’s purportedly
   “selective” and “highly incomplete” presentation of the evidence. Brady Mot. at 2. After
   all, “the best evidence [for purposes of the crime-fraud exception] is likely to be in the
   hands of the party invoking the privilege.” In re Napster, Inc. Copyright Litig., 479 F.3d
   1078, 1090–91 (9th Cir. 2007), abrogated on other grounds by Mohawk Indus., Inc. v.
   Carpenter, 558 U.S. 100 (2009). Although Dr. Eastman argues that doing so is difficult
   in light of the short timeline, the Court notes that Dr. Eastman has been on notice of the
   Select Committee’s objections, including crime-fraud, since they submitted their initial
   privilege log on January 31, 2022. Moreover, Dr. Eastman himself requested the
   opportunity to file the opening brief over the Select Committee’s objection, and raised no
   objections to the Court’s proposed briefing schedule. Hearing Tr. 8:4-11 (Feb. 14, 2022)
   (Dkt. 113). Accordingly, the Court DENIES Dr. Eastman’s Brady Motion.

          Dr. Eastman also seeks an additional eleven pages for his reply brief, arguing that
   the Select Committee disregarded the Central District’s Local Rules by excluding their
   table of contents and table of authorities from their page count. Page Limit Mot. at 2.
   However, Local Rule 11-6 sets page limits “excluding indices and exhibits.” C.D. Cal.
   L.R. 11-6. Local Rule 11-8 clarifies that tables of contents and of authorities are “indexed
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                                UNITED STATES DISTRICT COURT
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   tables” within the meaning of the rule. C.D. Cal. L.R. 11-8. As such, the Select
   Committee was correct not to include those pages in its page count. Dr. Eastman is
   afforded the same courtesy to make full use of the twenty-page limit for his reply brief,
   excluding any table of contents, table of authorities, exhibits, or appendices. Accordingly,
   the Court DENIES Dr. Eastman’s Page Limit Motion.


          The Clerk shall serve this minute order on the parties.




    MINUTES FORM 11CIVIL-                                             Initials of Deputy Clerk: djl
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